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                                    APPENDIX 1 TO REPLY

                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI INC., f/k/a Ubiquiti Networks,
    Inc.,

                               Plaintiff,
                                                        Civil Action No.: 1:18-cv-05369
                         v.
                                                        JURY TRIAL DEMANDED
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.; BLIP
                                                        Hon. J. Gary S. Feinerman
    NETWORKS, LLC; WINNCOM
    TECHNOLOGIES, INC.; SAKID
    AHMED; and DMITRY MOISEEV

                               Defendants.

                 DECLARATION OF ERIK J. IVES IN SUPPORT OF
                PLAINTIFF UBIQUITI INC.’S REPLY IN SUPPORT OF
             MOTION TO COMPEL DE-DESIGNATION OF DEFENDANTS’
            ATTORNEYS’ EYES ONLY PRODUCTION AND FOR SANCTIONS

   I, Erik J. Ives, declare as follows:

       1.      I am an attorney with the law firm of Fox, Swibel, Levin & Carroll, LLP, and

counsel for Plaintiff Ubiquiti Inc. (“Ubiquiti”) in this action. In that capacity, I am hereby

submitting the enclosed Declaration in Support of Plaintiff Ubiquiti Inc.’s Reply in Support of

Motion to Compel De-Designation of Defendants’ Attorneys’ Eyes Only Production and For

Sanctions (the “Reply”). I have personal knowledge of the facts set forth herein, and if called to

testify to them I could competently do so.

       2.      Ubiquiti’s counsel’s review of the 84 files that were not designated by Defendants

as either CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” (“CR-AEO”) or

“OUTSIDE ATTORNEYS’ EYES ONLY – CONFIDENTIAL SOURCE CODE” (“Source

Code AEO”) (collectively “AEO”), showed that: (i) 20 of the files are blank production slip



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sheets denoted, “UNSUPPORTED OR EXCLUDED FILE TYPE,” that contain no content (an

electronic search for which noted another 3,286 instances in which such production slip sheets

are designated AEO – all of which are subject to a pending meet/confer request seeking

production of readable files); and (ii) out of the remaining 64 files (comprised primarily of

marketing materials), many appear to have been designated as AEO elsewhere in Defendants’

production. As an example of the duplication referenced in subpart (ii), Exhibit A to this

declaration is a true and correct copy of the following documents contained in Defendants’

production:     CMBM-00008270 (no designation), CMBM-00011325 – CMBM-00011329

(marked CR-AEO). Exhibit A has been filed under seal in accordance with the terms of the

Protective Order, and the Motion for Leave to File Under Seal to be filed contemporaneously

with the Reply.

       3.       Exhibit B to this declaration is a true and correct copy of the following documents

contained in Defendants’ production that have been designated as “OUTSIDE ATTORNEYS’

EYES ONLY – CONFIDENTIAL SOURCE CODE”, which examples are referenced at page 3

of the Reply:     CMBM-00172869, CMBM-00038908 – CMBM-00038912, CMBM-00119755,

CMBM-00003166 – CMBM-00003168.               With respect to the document beginning CMBM-

00172869, a search for the information identified at page CMBM-00172877 (black shell prompt)

identified duplicate publicly available lines of source code at https://github.com/ago/openwrt/

blob/master/target/linux/adm5120/router_le/base-files/sbin/wget2nand (website last visited June

8, 2020) and duplicate source code files at https://archive.openwrt.org/snapshots/trunk/

ar71xx/mikrotik/ (website last visited June 8, 2020).      With respect to CMBM-00003166 –

CMBM-00003168, an electronic search of Defendants’ production identified at least 50 more

examples of the Common Gateway Interface scripts bearing Ubiquiti copyrights contained in




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these files. Exhibit B has been filed under seal in accordance with the terms of the Protective

Order, and the Motion for Leave to File Under Seal to be filed contemporaneously with the

Reply.

         4.    Exhibit C to this declaration is a true and correct copy of the following random

sample of thirty (30) files from Defendants’ production (representing file #s 1-10, 20,001-

20,010, and 40,001-40,010): bates ranges CMBM-00000001 – CMBM- 00000025, CMBM-

00052658 – CMBM-00052689, and CMBM-00096131 – CMBM-00096140. Exhibit C has been

filed under seal in accordance with the terms of the Protective Order, and the Motion for Leave

to File Under Seal to be filed contemporaneously with the Reply brief.

         5.    A file name search for “Accepted” identifies 362 autoreply calendar appointment

acceptance emails in Defendants’ production, just one of which has any substantive text outside

of the to/from/subject fields – all of which are designated AEO.

         6.    A file name search for “Automatic Reply” identifies 225 out-of-office e-mails in

Defendants’ production – all of which are designated AEO.

         7.    Exhibit D to this declaration is a true and correct copy of the following documents

contained in Defendants’ production that have been designated AEO and are referenced at pages

10-11 of the Reply:       CMBM-00027879, CMBM-00011985, CMBM-00039480, CMBM-

00037386, CMBM-00035671, CMBM-00066211, CMBM-00039329,                        CMBM-00029355.

Exhibit D has been filed under seal in accordance with the terms of the Protective Order, and the

Motion for Leave to File Under Seal to be filed contemporaneously with the Reply brief.

         8.    On May 27, 2020, the Court entered a minute entry order (Dkt. No. 138), which in

relevant part ordered that “Defendants shall respond to Plaintiff's 5/20/2020 and 5/23/2020

emails (Dkt. 132-3 at 2-4) by 5:00 pm Central Time on 5/28/2020.”




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       9.     On May 28, 2020, Defendants sent a written response to Ubiquiti’s May 20, 2020

and May 23, 2020 e-mail communications. A true and correct copy of this May 28, 2020 e-mail

correspondence is set forth in the email chain that is attached as Swenson Declaration Exhibit 1

to Defendants’ Opposition brief.

       10.    Between the dates of May 29, 2020 and June 2, 2020, counsel for the parties

exchanged further written meet/confer communications in connection with the AEO designations

at issue in the pending Motion. True and correct copies of these e-mail communications are set

forth in the email chain that is attached as Swenson Declaration Exhibit 1 to Defendants’

Opposition brief.

       11.    On June 2, 2020, counsel for the parties participated in a telephonic meet/confer

conference with respect to the AEO designations at issue in the pending Motion. During this

meet/confer conference, Ubiquiti requested that Defendants agree to cooperate with the pending

de-designation requests for the reasons set forth in the Motion and the enclosed Reply. In

response, Defendants declined to agree to Ubiquiti’s de-designation requests (with exception of

the four files previously de-designated by Defendants in their e-mail correspondence dated June

2, 2020).

       12.    On June 3, 2020, counsel for Defendants sent e-mail correspondence in which

Defendants agreed to de-designate a small number of documents as referenced therein, which

documents were not discussed on the parties’ June 2, 2020 telephonic meet/confer conference. A

true and correct copy of this June 3, 2020 e-mail communication is attached as Swenson

Declaration Exhibit 4 to Defendants’ Opposition brief.

       13.    Because Ubiquiti’s Reply brief contains descriptions of the contents of production

documents that have been designated AEO by Defendants, it has been filed under seal and in




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redacted form in accordance with the terms of the Protective Order, and the Motion for Leave to

File Under Seal to be filed contemporaneously with the Reply brief.



       I declare under penalty of perjury that the foregoing is true and correct.



Date: June 8, 2020                              /s/ Erik. J. Ives___________
                                                 Erik J. Ives




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